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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

   Timothy Charles Holmseth,

          Plaintiff,

   v.                                                           Case No. 3:18-cv-00361-JAG

   Kim Lowry Picazio, et al.,

          Defendants.

                   DEFENDANT KIM LOWRY PICAZIO’S MEMORANDUM
                    IN SUPPORT OF MOTION TO DISMISS COMPLAINT

          Defendant Kim Lowry Picazio (“Ms. Picazio”), by counsel, pursuant to Local Rule 7(F)(1)

   of the Rules of the United States District Court for the Eastern District of Virginia, submits this

   memorandum in support of her Motion to Dismiss the Complaint filed by Plaintiff Timothy

   Charles Holmseth (“Plaintiff” or “Holmseth”).

                                          INTRODUCTION

          Holmseth claims that after he discovered Ms. Picazio’s involvement in a child sex-

   trafficking ring, Ms. Picazio conspired with two named defendants and at least five John Doe

   defendants to harass and defame him over the internet. Other than conclusory statements,

   however, the Complaint alleges no facts establishing the existence of a conspiracy. This deficiency

   is fatal. Because the Complaint fails to allege the plausible existence of a conspiracy, it fails to

   establish personal jurisdiction and fails to state a claim upon which relief may be granted.

          Furthermore, the Complaint omits reference to several judicial proceedings that provide

   important context for Holmseth’s allegations. In 2011, following years of harassment and

   threatening behavior, the Circuit Court for Broward County, Florida entered a permanent

   restraining order forbidding Holmseth from harassing Ms. Picazio online. Holmseth continues to
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   attack Ms. Picazio, however, and in 2012, he pleaded guilty to criminal charges in Minnesota

   arising out of his violation of the restraining order. Holmseth presently is subject to arrest in

   Florida for his failure to appear for a show cause hearing relating to violations of the restraining

   order. In February 2018, four months before Holmseth commenced this action against Ms.

   Picazio, he again was criminally charged in Minnesota for violating the restraining order, and the

   charges are still pending. Holmseth cannot hide these facts from the Court. They are matters of

   public record of which the Court properly may and should take judicial notice.

          The Complaint and this action more broadly serve only to further Holmseth’s longstanding

   objective to harass Ms. Picazio. Ms. Picazio is not subject to personal jurisdiction in Virginia, and

   the Complaint fails to state a claim against her upon which relief may be granted. It should be

   dismissed.

                            STANDARDS APPLICABLE TO REVIEW

          Ms. Picazio seeks dismissal of the Complaint for lack of personal jurisdiction, and for

   failure to state a claim upon which relief may be granted. See Fed. R. Civ. P. 12(b)(2), (6). In

   considering both bases for dismissal, the Court must construe the allegations in the Complaint in

   the light most favorable to the plaintiff. See Grayson v. Anderson, 816 F.3d 262, 268 (4th Cir.

   2016) (when determining a motion to dismiss under Rule 12(b)(2) based on the parties’ papers,

   “the court must take the allegations and available evidence relating to personal jurisdiction in the

   light most favorable to the plaintiff”); Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

   F.3d 250, 253 (4th Cir. 2009) (in ruling on a motion to dismiss under Rule 12(b)(6), the reviewing

   court must accept all allegations in the complaint as true and draw all reasonable inferences in

   favor of the plaintiff). The reviewing court is never bound by conclusory allegations, however,

   nor is it required to draw unreasonable inferences. See Shuff v. G R Chevrolet, No. 4:15-cv-00020,



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   2016 WL 4094919, *3 (W.D. Va. Aug. 1, 2016) (“Although the standard [for determining whether

   the plaintiff has made a prima facie case for personal jurisdiction] may be lenient, a court need not

   credit conclusory allegations or draw farfetched inferences.”) (quoting Syngenta Crop Prot., LLC

   v. Willowood, LLC, 139 F. Supp. 3d 722, 727 (M.D.N.C. 2015));1 Turner v. Virginia Dep't of Med.

   Assistance Servs., 301 F. Supp. 3d 637, 642 (E.D. Va. 2018) (same with respect to a motion to

   dismiss under Rule 12(b)(6)).

                                          FACTS ALLEGED

          Ms. Picazio is an attorney who at all times relevant has worked and resided in Florida.

   (Compl. ¶ 2.) In 2009, Ms. Picazio was hired to provide services in connection with the

   disappearance of a five year old girl from Florida. (Id.) Holmseth claims to be a journalist,

   investigative reporter and author who at all times relevant has resided in Minnesota. (Id. ¶ 1.)

   Holmseth alleges that he investigated the girl’s disappearance for three months in 2009. (Id. ¶ 2.)

          According to the Complaint, during Holmseth’s investigation, Ms. Picazio’s legal assistant

   allegedly informed Holmseth that Ms. Picazio possessed “child rape pornography” involving the

   missing girl that she had not turned over to law enforcement. (Id. ¶ 12.) Additionally, a lawyer

   associate of Ms. Picazio allegedly told Holmseth that Ms. Picazio and her husband “took babies

   from new and/or poor mothers and sold them on the international black market.” (Id.) This lawyer

   associate explained to Holmseth that she purportedly was told by another associate of Ms. Picazio,




   1
           See also Masselli & Lane, PC v. Miller & Schuh, PA, 215 F.3d 1320, 2000 WL 691100, at
   *1 (4th Cir. May 30, 2000) (per curiam) (jurisdictional facts must be construed in the plaintiff’s
   favor, but “the court need not ‘credit conclusory allegations or draw farfetched inferences.’”)
   (quoting Ticketmaster-New York, Inc. v. Alioto, 26 F.3d 201, 203 (1st Cir. 1994)); Schmalfeldt v.
   Grady, No. 417-cv-01310, 2017 WL 6628187, at *3 (D.S.C. Dec. 7, 2017), report and
   recommendation adopted, 2017 WL 6621189 (D.S.C. Dec. 28, 2017) (“District Courts are not
   required to engage in speculative inferences from conclusory facts proposed to support personal
   jurisdiction.”) (citation omitted).
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   a pastor, that Ms. Picazio and her husband “moved [the children] through the U.S. Embassy using

   fake medical records and church dossiers.” (Id.) Holmseth also alleges that he received an

   affidavit, dated October 3, 2011, from a private detective working for Ms. Picazio. (Id.) In the

   affidavit, the private detective testified, inter alia, that Ms. Picazio and her husband told the

   detective that Holmseth “was a child molester, mentally unstable and dangerous.” (Id.)

             Based on this evidence, allegedly corroborated by “independent third-parties,” Holmseth

   concluded that Ms. Picazio “was involved in a large child sex trafficking operation.” (Id.) In June

   2009, Holmseth alerted law enforcement agencies to his findings, and a month later, submitted to

   the FBI his preliminary investigative report concerning the missing girl. (Id. ¶¶ 13-14.)2 In

   February 2010, according to Holmseth, an FBI agent in Minnesota interviewed him and found him

   “credible.” (Id. ¶ 16.)

             Defendant William K. Murtaugh (“Murtaugh”) is a resident of Florida. (Id. ¶ 3.) Holmseth

   alleges that “[o]n almost daily basis [sic] between July 2017 and December 2017, Murtaugh and

   Picazio      trolled   Holmseth     on    the    Internet,”   including    using    the    website

   www.williamkmurtaugh.com to make, publish and republish false and defamatory [statements]

   about Holmseth. (Id.) Defendant Karen Denise Gaur (“Gaur”) is a resident of Virginia. (Id. ¶ 4.)

   In January 2018, Picazio, Murtaugh and Gaur allegedly sponsored a “fake” online petition to have

   Holmseth involuntarily committed to a mental institution. (Id.)

             Holmseth alleges that in July 2017, Ms. Picazio, Murtaugh and Gaur entered into a

   conspiracy to harm Holmseth. (Id. ¶ 19.) The Complaint alleges that there were at least five other

   members of the conspiracy. (Id. ¶ 5.) Although these co-conspirators are listed as John Does, the

   Complaint alleges that, “upon information and belief,” one or more of them “lives or works” in



   2
             A copy of Holmseth’s preliminary report is attached to the Complaint as Exhibit A.
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   Virginia. (Id.) Furthermore, Holmseth believes he knows the identity of two of the five John Doe

   defendants, Levi Page (“Page”) and Tina Wilemon-Church (“Church”). (Id.) The Complaint

   suggests that Church published a second online petition attacking Holmseth in coordination with

   Ms. Picazio, Murtaugh and Gaur. (Id.)

                                         JUDICIAL NOTICE

          In considering a motion to dismiss under Rule 12(b)(6), the reviewing court may take

   judicial notice of public documents, such as court records, even when the documents are neither

   referenced by nor integral to the complaint. See Witthohn v. Fed. Ins. Co., 164 Fed. App’x 395,

   397 (4th Cir. 2006) (citing Gasner v. Dinwiddie, 162 F.R.D. 280, 282 (E.D. Va. 1995)).

          On September 19, 2011, the Circuit Court for Broward County, Florida (the “Florida

   Court”) entered an order (the “Restraining Order”) permanently restraining Holmseth from

   harassing Ms. Picazio online. (See Exhibit A.)3 Some of the history relating to the entry of the

   Restraining Order is recounted in a report and recommendation issued by the magistrate judge,

   subsequently adopted by the district court judge, dismissing a previous civil lawsuit that Holmseth

   commenced in 2014. See Holmseth v. City of E. Grand Forks, No. CIV. 14-2970, 2015 WL

   4488424, *1-3, *5–6 (D. Minn. July 23, 2015).

          On October 31, 2011, the Florida Court issued a writ of bodily attachment4 for Holmseth

   to answer for his failure to appear at a show cause hearing relating to his violation of the




   3
          Under Florida law, the Restraining Order is referred to as a “Repeat Violence Injunction.”
   See generally, Fla. Stat. § 741.30.
   4
           Florida law authorizes a court to “[i]ssue a bench warrant, capias, or writ of bodily
   attachment for an obligor who has failed after proper notice to appear at a hearing ordered by the
   tribunal and enter the bench warrant, capias, or writ of bodily attachment in any local and state
   computer systems for criminal warrants.” See Fla. Stat. § 88.3051(2)(i).


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   Restraining Order. (See Exhibit B.) The writ by its terms expired after sixty days. (See id.). On

   August 24, 2017, the Florida Court entered an amended writ of bodily attachment that did not

   include a sunset provision. (See Exhibit C.) Consequently, Holmseth presently is subject to arrest

   in Florida in connection with the Restraining Order and his interactions with Ms. Picazio.

          In November 2011, Holmseth was arrested in Minnesota and criminally charged with

   violating the Restraining Order. See Holmseth, 2015 WL 4488424 at *6. Holmseth eventually

   entered an Alford plea. Id. at *7. On February 19, 2018, Holmseth was again criminally charged

   in Minnesota for violating the Restraining Order. See State of Minnesota v. Timothy Charles

   Holmseth, Case No. 60-CR-18-343 (District Court for Polk County, Minnesota). Additional

   charges were filed on March 6, 2018, based on violations of the restraining order that occurred

   after the first chargers were filed. See Case Nos. 60-CR-18-439 and 60-CR-18-441 (filed Mar. 6,

   2018). A trial date has not been set.5

          Holmseth’s long history of harassing Ms. Picazio provides important context.            As

   explained below, the Complaint fails to allege any facts plausibly connecting Ms. Picazio to any

   of her alleged co-conspirators, or plausibly suggesting that Ms. Picazio personally undertook any

   of the acts giving rise to Holmseth’s claims. This action is merely a pretext for Holmseth to

   continue his harassment of Ms. Picazio.




   5
          On August 30, 2018, the Minnesota court entered an order requiring Holmseth to undergo
   a mental competency exam. Regardless of the outcome of the evaluation, the mere fact that the
   Minnesota court ordered the mental exam is relevant to Holmseth’s allegation that “[t]here is no
   basis under any law for Holmseth’s involuntary commitment to a mental institution.” (Compl. ¶
   4.)
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                                   ARGUMENT AND AUTHORITIES

   I.     The Complaint Fails To Allege Facts Establishing A Conspiracy.

          The Court’s jurisdiction over Ms. Picazio and the facial validity of Holmseth’s claims

   against her depend on the existence of a conspiracy. (See below, Sec. II & III.) As noted, for

   purposes of determining both jurisdiction and whether the Complaint states a claim against Ms.

   Picazio, the Court views the allegations in the Complaint through the same lens. See Haley Paint

   Co., 775 F. Supp. 2d at 799.6

          It is well settled that the existence of a conspiracy may not be alleged in general or

   conclusory terms. See A Soc'y Without A Name v. Virginia, 655 F.3d 342, 346 (4th Cir. 2011)

   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556-557 (2007)); Firestone v. Wiley, 485

   F. Supp. 2d 694, 703–04 (E.D. Va. 2007) (citations omitted). The complaint must allege facts that

   are sufficient to establish a meeting of the minds and agreement to conspire, or that at least fairly

   give rise to an inference of such a meeting of the minds and agreement. See A Soc’y Without A

   Name, 655 F.3d at 347; Cox v. MAG Mut. Ins. Co., No. 3:14-cv-377, 2015 WL 1640513, *6 n.20

   (E.D. Va. Apr. 9, 2015) (citing U.S. ex rel. Godfrey v. Kellogg, Brown & Root, Inc., No. 1:05-cv-

   1418, 2008 WL 9878351, at *7 (E.D. Va. Mar. 13, 2008), aff’d sub nom. U.S. ex rel. Godfrey v.

   KBR, Inc., 360 Fed. App’x 407 (4th Cir.2010)). “The factual allegations must plausibly suggest

   agreement, rather than being merely consistent with agreement.” A Soc’y Without A Name, 655

   F.3d at 347 (citation omitted).




   6
           One district court in the Fourth Circuit has observed that “it would be highly incongruous
   to require separate pleading standards for two subsections of the same rule,” especially because
   “the factual nature of the claims surrounding the grounds for jurisdiction are, more often than not,
   intertwined with the factual allegations showing that the pleader is entitled to relief.” Haley Paint
   Co. v. E.I. Dupont De Nemours & Co., 775 F. Supp. 2d 790, 799 (D. Md. 2011).
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           The allegations in the Complaint concerning the existence of a conspiracy fall well short

   of this standard. The Complaint indicates that the impetus for the conspiracy is the alleged child

   sex trafficking ring. (See Compl. p. 19 (heading “Motive For the Defamation”)). Yet, the

   allegations are insufficient to plausibly suggest the existence of such an operation,7 much less Ms.

   Picazio’s involvement in it. (Compl. ¶¶ 10-17.) Moreover, assuming arguendo that the Complaint

   does sufficiently allege such an operation and Ms. Picazio’s involvement in it, there are no

   allegations suggesting Murtaugh, Gaur or the John Doe defendants were also involved. The

   Complaint offers literally no indicia of any relationship or contact between the defendants or any

   reason they would enter into an agreement to harm Holmseth, other than conclusory statements

   that they “acted in concert and combination” with each other. (See id. ¶ 4; see also id. at p. 1

   (defendants “[a]cting in concert and conspiracy . . . .”), ¶ 3 (“At all time [sic] relevant to this action,

   Murtaugh and Picazio were working in concert to defame Holmseth.”)).

           The Complaint also repeatedly alleges actions taken by the “Defendants” collectively when

   referring to statements and actions which, on their face, appear to have been undertaken by just

   some or only one alleged co-conspirator. Holmseth cites statements posted on a website bearing

   Murtaugh’s name that, on their face, do not purport to be authored by Ms. Picazio. (See id. ¶ 3.)

   Holmseth also cites an online petition that, on its face, purports to be signed by Murtaugh and

   Gaur, but not Ms. Picazio. (Id. ¶ 4.) The second online petition Holmseth cites, on its face, purports



   7
           Although the conspiracy alleged in Twombly was not as farfetched as the sex trafficking
   ring involving pastors and the “U.S. Embassy” alleged by Holmseth, the pleading standard
   articulated in Twombly nevertheless is intended to separate a “conspiracy theory” in the colloquial
   sense from a legally actionable conspiracy. See Glascoe v. Prince George’s Cty., Maryland, No.
   CV AW-10-710, 2010 WL 11545965, at *1 (D. Md. Nov. 8, 2010), aff’d, 417 Fed. App’x 296 (4th
   Cir. 2011) (“Even though the Court reads the Complaint in the light most favorable to the Plaintiff
   at the motion-to-dismiss stage, Plaintiff must present something more than fanciful conspiracy
   theories and subjective attacks on the state legal system if she wanted to set forth cognizable
   claims.”).
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   to be authored only by Gaur. (Id. ¶ 5.) There are no factual, non-conclusory allegations in the

   Complaint plausibly suggesting that Ms. Picazio was involved in any way with the publication of

   these statements and petitions.

          Holmseth’s tactic of attributing all actions to the “Defendants” collectively is insufficient

   to allege the plausible existence of a conspiracy. “Conspiracy is not established simply by lumping

   the defendants altogether because the heart of conspiracy is an agreement and a conscious decision

   by each defendant to join it.” Livia Properties, LLC v. Jones Lang LaSalle Americas, Inc., No.

   5:14-cv-00053, 2015 WL 4711585, *10 (W.D. Va. Aug. 7, 2015) (quoting Jaggars v. Sandy Spring

   Bank, No. 6L14–cv–00015, 2014 WL 4251003, *3 (W.D. Va. Aug. 28, 2014), aff’d sub nom. Livia

   Properties, II, LLC v. Jones Lang LaSalle Americas, Inc., 646 Fed. App’x 322 (4th Cir. 2016)).

          Holmseth’s contention that the defendants conspired to harm him “fails because it is

   comprised almost entirely of conclusory allegations unsupported by concrete facts.” A Soc’y

   Without A Name, 655 F.3d at 347. See also Holmseth, 2015 WL 4488424 at *1 (“[Holmseth’s]

   allegations relating to a ‘conspiracy’ are all conclusory in nature and similarly cannot support legal

   claims.”). No details are provided concerning why or how the defendants agreed to enter into a

   conspiracy. Cox, 2015 WL 1640513 at *6. “The allegations are thus insufficient to support a

   meeting of the minds by the defendants” to enter into a conspiracy. A Soc’y Without A Name, 655

   F.3d at 347.

   II.    The Complaint Fails To Make a Prima Facie Case For Personal Jurisdiction
          Over Ms. Picazio.

          The Complaint acknowledges, as it must, that Ms. Picazio resides in Florida, not Virginia.

   (Compl. at ¶ 2.) Thus, as a threshold matter, Holmseth must establish that the Court has personal

   jurisdiction over Ms. Picazio. See 5B Charles Alan Wright & Arthur R. Miller, Federal Practice

   and Procedure § 1351 (3d ed. 2018) (“As a general rule, when the court is confronted by a motion

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   raising a combination of Rule 12(b) defenses, it will pass on the jurisdictional issues before

   considering whether a claim was stated by the complaint.”). Personal jurisdiction is an issue of

   law decided by the Court. Grayson, 816 F.3d at 267 (“[A] Rule 12(b)(2) challenge raises an issue

   for the court to resolve, generally as a preliminary matter.”) (citation omitted).

          The exercise of jurisdiction over a non-resident defendant must comport with the Due

   Process Clause of the Fourteenth Amendment to the United States Constitution. Consulting Eng’rs

   Corp. v. Geometric, Ltd., 561 F.3d 273, 277 (4th Cir. 2009). Due process demands that a non-

   resident defendant have sufficient “minimum contacts” with the forum state “such that the

   maintenance of the suit does not offend traditional notions of fair play and substantial justice.”

   Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945). The plaintiff bears the burden of demonstrating

   personal jurisdiction. Grayson, 816 F.3d at 267 (citing Combs v. Bakker, 886 F.2d 673, 676 (4th

   Cir. 1989)).

          When the court decides personal jurisdiction by reviewing only the parties’ motion papers,

   affidavits attached to the motion, supporting legal memoranda and the allegations in the complaint,

   the plaintiff need only make a prima facie showing of personal jurisdiction to survive the

   jurisdictional challenge. Grayson, 816 F.3d at 268 (citation omitted).           If the existence of

   jurisdiction turns on disputed questions of fact, the court may resolve the jurisdictional challenge

   on the basis of a separate evidentiary hearing or as an incident to trial on the merits. Combs, 886

   F.2d at 677. The district court has “broad discretion to determine the procedure that it will follow”

   in resolving a jurisdictional challenge. Grayson, 816 F.3d at 268. Regardless of the chosen

   process, ultimately the plaintiff must establish facts supporting jurisdiction by a preponderance of

   the evidence. Id. (citation omitted).




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          A court can have either general or specific personal jurisdiction over a non-resident

   defendant. Handy v. Johnson & Johnson, No. 3:17-cv-274, 2017 WL 6343792, at *2 (E.D. Va.

   Dec. 12, 2017) (citation omitted), aff’d, 724 Fed. App’x 218 (4th Cir. 2018). See also Young v.

   New Haven Advocate, 315 F.3d 256, 261 (4th Cir. 2002) (“A court may assume power over an

   out-of-state defendant either by a proper finding of specific jurisdiction based on conduct

   connected to the suit or by a proper finding of general jurisdiction.”) (internal quotations omitted).

   General jurisdiction exists if the non-resident defendant’s activities in the forum state, although

   unrelated to the claims at issue, are “continuous and systematic.” ESAB Grp., Inc. v. Centricut,

   Inc., 126 F.3d 617, 623 (4th Cir. 1997) (quoting Helicopteros Nacionales de Colombia, S.A. v.

   Hall, 466 U.S. 408, 414–415 (1984)). The Complaint is devoid of any allegation concerning Ms.

   Picazio’s physical presence in Virginia; it merely alleges that “Defendants’ contacts with Virginia

   were (and are) continuous and systematic.” (Compl. ¶ 8.)              Legal conclusions about the

   “Defendants” collective contacts is insufficient to make a prima facie showing of general

   jurisdiction over Ms. Picazio. See E. Direct Mktg. v. The Coolidge Co., 26 Va. Cir. 282, 1992 WL

   884482, *1 (Arlington Cir. Ct. Feb. 4, 1992) (plaintiff’s “conclusory pleading” does not establish

   general jurisdiction); see also Handy, 2017 WL 634379 at *3 (“Handy does not allege facts

   sufficient to show that Johnson & Johnson has contacts with Virginia continuous and systematic

   enough to render it essentially at home.”). In fact, Ms. Picazio’s only contact with Virginia was a

   one-day stay in Colonial Williamsburg during a family road trip to Washington, D.C. (See Exhibit

   D, Picazio Aff. ¶ 17; see generally, id.).

          Specific jurisdiction exists when the cause of action arises from the non-resident’s contacts

   with the forum state and requires a “substantial connection” with the forum state. Diamond

   Healthcare of Ohio, Inc. v. Humility of Mary Health Partners, 229 F.3d 448, 450 (4th Cir. 2000)



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   (citation omitted).    Virginia’s long-arm statute, Virginia Code § 8.01-328.1, lists several

   circumstances in which a defendant’s contacts with the forum state are sufficient to establish

   specific jurisdiction. The Fourth Circuit has determined that Virginia’s long-arm statute comports

   with the Due Process Clause. Consulting Engineers Corp. v. Geometric Ltd., 561 F.3d 273, 277

   (4th Cir. 2009) (citations omitted). Hence, a plaintiff establishes specific jurisdiction by showing

   that the defendant’s contacts with Virginia satisfy Virginia’s long-arm statute. See CFA Inst. v.

   Inst. of Chartered Fin. Analysts of India, 551 F.3d 285, 293 (4th Cir. 2009).

          The Complaint avers that Ms. Picazio is subject to personal jurisdiction under three

   subsections of the long-arm statute: Subsections (A)(1), (A)(3) and (A)(4). (Compl. ¶ 8.)

          Subsection (A)(1) authorizes personal jurisdiction where the cause of action arises from

   the defendant’s transacting business in Virginia. See Va. Code § 8.01-328.1(A)(1). Subsection

   (A)(1) is inapplicable because the causes of action asserted in the Complaint arise from alleged

   tortious activity, not business transactions. Indeed, the Complaint does not identify any business

   that Ms. Picazio transacted in Virginia giving rise to Holmseth’s claims. At best, the Complaint

   alleges that the causes of action arise out of business that Ms. Picazio’s co-conspirators, namely

   Gaur, transacted in Virginia, and, Holmseth contends, those contacts are imputed to Ms. Picazio.

   (See Compl. ¶ 8.) Holmseth’s reliance on the so-called “conspiracy theory of jurisdiction” fails

   because, as noted in Section I above, the Complaint fails to allege the existence of a conspiracy.

   See Unspam Techs., Inc. v. Chernuk, 716 F.3d 322, 329 (4th Cir. 2013) (to establish conspiracy

   theory of personal jurisdiction, the plaintiff must “rely on more than bare allegations”) (internal

   quotations omitted).

          Subsection (A)(3) of the long-arm statute applies when the defendant’s acts or omissions

   within Virginia tortiously injure the plaintiff. See Va. Code § 8.01-328.1(A)(3). Subsection (A)(3)



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   is inapplicable because the Complaint does not allege any act or omission undertaken by Ms.

   Picazio in Virginia. People Exp. Airlines, Inc. v. 200 Kelsey Assocs., LLC, 922 F. Supp. 2d 536,

   545 (E.D. Va. 2013) (regardless of where injury suffered, Subsection (A)(3) inapplicable because

   the plaintiff “failed to allege that [the defendant] committed any act in Virginia.”) (emphasis in

   original); accord Cent. Virginia Aviation, Inc. v. N. Am. Flight Servs., Inc., 23 F. Supp. 3d 625,

   629 (E.D. Va. 2014) (citing Jones v. Boto Co., 498 F. Supp. 2d 822, 826 (E.D. Va. 2007)). To the

   extent that Holmseth’s application of Subsection (A)(3) relies on the conspiracy theory of

   jurisdiction, it fails because, again, the Complaint does not sufficiently allege the existence of a

   conspiracy.

           Subsection (A)(4) applies when the defendant’s acts or omissions outside Virginia

   tortiously injure the plaintiff inside Virginia, but only if the defendant regularly conducts or solicits

   business in Virginia, engages in any other persistent course of conduct in Virginia or derives

   substantial revenues from goods or services in Virginia. See Va. Code § 8.01-328.1(A)(4).

   Holmseth cannot rely on Subsection (A)(4) for at least four reasons. First, the Complaint does not

   identify any act or omission specifically by Ms. Picazio giving rise to the causes of action asserted.

   C.f. Marcantonio v. Dudzinski, 155 F. Supp. 3d 619, 626 (W.D. Va. 2015) (“In the Fourth Circuit

   and elsewhere, courts have interpreted Twombly and Iqbal to mean that generic or general

   allegations about the conduct of ‘defendants,’ without more, fail to state a claim.”) (compiling

   cases). Second, alleged acts and omissions of Ms. Picazio’s purported co-conspirators cannot be

   imputed to Ms. Picazio because, again, the Complaint fails to allege the existence of a conspiracy.

   See Unspam Techs., Inc., 716 F.3d at 329. Third, the Complaint fails to allege that Holmseth, who

   at all times relevant resided in Minnesota (Compl., ¶ 1), was injured in Virginia. Fourth, for the

   same reason the Complaint fails to show general jurisdiction, it fails to establish the important



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   qualifiers under (A)(4) concerning the defendant’s general contacts in Virginia. Each of the

   foregoing deficiencies independently precludes Holmseth from establishing specific jurisdiction

   under (A)(4).

          The Complaint also references Subsection (B) of the long-arm statute. (Compl. ¶ 8.).

   Subsection B clarifies that the use of a computer or computer network that is located in Virginia

   shall constitute an act in Virginia. See Va. Code § 8.01-328.1(B). Subsection (B) is of no moment

   because the Complaint does not identify any computer or computer network located in Virginia

   used by Ms. Picazio in connection with any act giving rise to Holmseth’s claims. To the extent

   that any of the alleged co-conspirators used a computer or computer network in Virginia, again,

   their actions cannot be imputed to Ms. Picazio.

          Lastly, assuming arguendo that the Complaint did allege non-conclusory, non-speculative

   facts plausibly showing that Ms. Picazio was involved in any of the online statements at issue, the

   Complaint still fails to make a prima facie showing of personal jurisdiction. To establish

   jurisdiction over a non-resident defendant based on internet activity, a plaintiff must satisfy the

   Zippo test. See ALS Scan, Inc. v. Digital Serv. Consultants, Inc., 293 F.3d 707, 714 (4th Cir. 2002)

   (adopting and adapting the test developed in Zippo Manufacturing Co. v. Zippo Dot Com, Inc.,

   952 F. Supp. 1119 (W.D. Pa.1997)); accord FireClean, LLC v. Tuohy, No. 1:16-cv-0294, 2016

   WL 3952093, at *4 (E.D. Va. July 21, 2016)). Under the Zippo test, as modified by the Fourth

   Circuit, “a State may, consistent with due process, exercise judicial power over a person outside

   of the State when that person (1) directs electronic activity into the State, (2) with the manifested

   intent of engaging in business or other interactions within the State, and (3) that activity creates,

   in a person within the State, a potential cause of action cognizable in the State’s courts.” ALS Scan,

   Inc., 293 F.3d at 714.



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           The Complaint fails the Zippo test because it fails to allege any electronic activity directed

   into Virginia that gives rise to any of Holmseth’s claims. Again, at all times relevant, Holmseth

   resided in Minnesota, not Virginia. The only electronic activity the Complaint identifies as being

   directed to someone in Virginia is the purported online video targeting Susan Earman, a Virginia

   resident who allegedly supports Holmseth. (See Compl. ¶ 2.) The Complaint does not explicitly

   identify the date of the video, but it does cite a web address indicating that the video was published

   on or before July 7, 2015. (See id.)8 The conspiracy described in the Complaint is not alleged to

   have begun until July 2017, however, and thus the video does not give rise to Holmseth’s claims.

   (See id. at ¶ 19.)

           Holmseth has not met and cannot meet his burden of establishing that Ms. Picazio, a Florida

   resident, is subject to personal jurisdiction in Virginia. Therefore, the Complaint should be

   dismissed.

   III.    The Complaint Fails To State A Claim Upon Which Relief May Be Granted.

           The Complaint asserts four causes of action: common law conspiracy (Count I);

   defamation per se (Count II); intentional infliction of emotional distress (Count III); and personal

   trespass and harassment (Count IV). The common law conspiracy claim, obviously, is dependent

   on allegations sufficient to establish the existence of a conspiracy and, therefore, fails. Bay

   Tobacco, LLC v. Bell Quality Tobacco Prod., LLC, 261 F. Supp. 2d 483, 499 (E.D. Va. 2003).

   The remaining counts are not expressly predicated on the existence of a conspiracy, but to the




   8
           The web address cited in reference to the video is:
   https://haleighcummingsdotme.wordpress.com/2015/07/07/satanic-cult-releases-videoabout-
   haleigh-cummings/. (Compl. ¶ 2) (emphasis added).


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   extent they are premised on the alleged conspiracy, they necessarily fail to state a claim. (See

   above, Section I.)

          Alternatively, to the extent that the remaining counts do not depend on the existence of a

   conspiracy, they still fail to state a claim upon which relief may be granted. The only act

   specifically alleged to have been taken by Ms. Picazio that could conceivably support a cause of

   action by Holmseth concerns statements attributed to Ms. Picazio and her husband in the private

   detective’s affidavit. (See Compl. ¶ 12.)9 The affidavit is dated October 3, 2011, and thus reports

   on activities that occurred more than five years prior to the commencement of this action. (See id.)

   Consequently, none of the activities described in the purported affidavit could support the causes

   of action asserted in the Complaint.

          Simply stated, the Complaint does not allege any act by Ms. Picazio giving rise to

   Holmseth’s claims except her involvement in the conspiracy, the plausible existence of which has

   not been sufficiently alleged. Therefore, all the counts asserted in the Complaint fail to state a

   claim upon which relief may be granted and should be dismissed.

                                            CONCLUSION

          WHEREFORE, for the foregoing reasons, Ms. Picazio respectfully requests that her

   motion be granted; that the Complaint be dismissed against her in its entirety with prejudice; and

   that she be awarded any additional relief that the Court deems fair and just.




   9
           Although the Complaint does not quote the affidavit in full or attach a copy as an exhibit,
   the affiant appears to allege that Ms. Picazio and her husband told him that Holmseth “was a child
   molester, mentally unstable and dangerous.” (Compl. ¶ 12.)
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   Date: October 5, 2018.             Respectfully submitted,

                                      KIM LOWRY PICAZIO

                                      By Counsel

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                                      CERTIFICATE OF SERVICE

              I hereby certify that on the 5th day of October, 2018, I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will then send a notification of such

   filing (NEF) to all counsel of record.



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